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MEG/AS
F.#2017R01721

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

IN THE MATTER OF THE SEARCH OF
A SAMSUNG CELLULAR TELEPHONE
BEARING IMEI 3525570'73083464 IN
THE CUSTODY OF THE FEDERAL
BUREAU OF INVESTIGATION

APPLICATION FOR A SEARCH
WARRANT FOR AN ELECTRONIC
DEVICE

Case No.

 

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE

I, STEVEN SCHILIRO, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. l make this affidavit in support of` an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search Warrant authorizing the examination of property_
an electronic device_Wh_ich is currently in law enforcement possession, and the extraction

from that property of electronically stored information described in Attachrnent B.

l. 1 am a S_pecial Agent With the Federal Bureau of Investigation (“FBI”),
and have been since 2009. lam currently assigned to the New York Metro Saf`e Street Gang
Task Force, Where 1 investigate gangs, narcotics trafficking firearms trafficking fraud and
other offenses These investigations are conducted both overtly and covertly. During my
tenure With the FBI, l have participated in numerous investigations of` gangs, during Which I

have (a) conducted physical surveillance, (b) executed search Warrants, (c) debriefed

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cooperating Witnesses and victims, (d) reviewed and analyzed numerous taped conversations
of those engaged in gang activitiesj (e) monitored Wiretapped conversations and reviewed
line sheets prepared by Wiretap monitors, and (f) reviewed material obtained pursuant to
search Warrants, including the contents of electronic devices, electronic mail accounts and
social media accounts. Through my training, education and experience, I have become
familiar With the manner in vvhich racketeering, drug distribution, gun trafficking and money
laundering schemes are carried out, and the efforts of persons involved in such activity to
avoid detection by law enforcement

2. This affidavit is intended to show only that there is sufficient probable cause

for the requested Warrant and does not set forth all of my knowledge about this matter.
IDENT[FICATION OF THE DEVICE TO BE EXAMINE])

3. The property to be searched is a Samsung cellular telephone bearing
international mobile equipment identity (“Il\/_IEI”) 35255?073083464, hereinafter the
“Device.” The Device has been in the custody of the FBI since it Was seized on April 17,
2018. The Device is currently in the Eastern District of NeW York in the custody of the
undersigned, but it is generally maintained in storage at the FBI’s NeW Yorl< Field Office

under item number lB?)S and barcode E628()286.

4. The applied-for Warrant Would authorize the forensic examination of the
Device for the purpose of identifying electronically stored data particularly described in

Attachment B.

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PROBABLE CAUSE

5. The Device came into the custody of the FBI on April l7, 2018, when Mario
Rabb, also known as “Boss” (“RABB”), the user of the Device, was arrested pursuant to a
warrant issued by the Honorable Ramon E. Reyes, .ir,, l\/lagist:rate fudge for the Eastem
District of Nevv York. RABB Was arrested in his apartment in the Bronx. The Device was
located on a window sill in the living room of that apartment The arrest Warrant was
predicated on RABB’ s membership in a large-scale narcotics-trafficking conspiracy
operating in Brooklyn, the Bronx, and elsewhere RABB is charged under criminal docket
18-185 (FB) With Conspiracy to Distribute and Possession With lntent to Distribute cocaine

base and heroin, in violation of Title 21, United States Code, Section 846 and

841 (b)(l)(A)(iii).

6. Prior to his arrest, RABB Was the target of a long-term investigation
conducted by the FBI and the NeW York City Police Department (“NYPD”) into drug-related
and other crimes committed by members of the Mac Baller Br`ims, a set of the Bloods street
gang in Which RABB is a 'member. The investigation involved, among other investigative
techniques, the use of Court-authorized wiretaps, including one of the Device. The
Honorable George B. Daniels, U.S. District Court Judge for the Southern District of New
York, authorized the interception of wire and electronic communications over the Device on

February 9, 2018. On March 22, 2018, the I-Ionorable Gregory I-l. Woods, U.S. District

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Court Judge for the Southem District of New Y_ork, renewed authorization to intercept wire

and electronic communications over the Device.,l

7. Cornmunications intercepted between February 9 and April' 17 pursuant to the
court Orders described above demonstrate that RABB routinely used the Device to facilitate
drug- and gang-related activity. More generally, the investigation revealed that RABB sold
heroin, cocaine and crack cocaine, and that he used a commercial establishment on Webster

Avenue in the BronX (the “Store”) to conduct some of his drug~related activity.

8. For example, on February ll, 2018, RABB received a call on the Device from
Kevin St. Hill (“ST. I-IILL”), another member of the gang and the drug-trafficking
conspiracy (session #774). During the call, the two men discussed the status of various
members of the Mac Baller Brims. Speciiically, RABB told ST. HILL that “Mitch” is a
Hound now |;i_.§v a member of another set of the B.loods street gang] and doesn’t hang out
with Macs fi.i, Mac Baller Brims];. RABB continued to say that he doesn’t know where
“Mitch” is anymore, and that if they catch “Mitch,,” they are going to “violate him” (i_£=,
assault or kill him). RABB further said that two of RABB’s “drops” fi.i, lower-ranking
Bloods gang members that RABB brought into the gang] had “crushed Mitch.” The nature
of this conversation _ and RABB’s reference to his “drops” in particular _ offers proof that

RABB is a Mac Baller Brirn.

 

1 1 am informed that the Device is the cellular telephone that was the subject of the wiretaps Orders described herein

wiretap Orders and the Device rang.

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9. On February 14, 2018 (session #2443), RABB used the Device to speak to a
man referred to as Keon Lewis, also known as “Keke” (“LEWIS”), another member of the
drug-trafficking conspiracy During the conversation, LEWIS asked RABB, “you got drop f
. _ some drop top?” to Which RABB replied, “What the fuck is drop top, man?”_ LE\)VIS
responded, “some hard, man,” and RABB replied, “yeah, l got some hard.” 1 am aware that
“hard” is a commonly used slang term for crack cocaine, which is a rock-like substance
LEW"{S then told RABB that he Would meet RABB shortly at Webster (presumably at the

Store) where RABB said that he was going.

10. The following day, on February 15, 2018 (session #2564), Malcolrn Hogue,
also known as “Roach” -(“HOGUE”), another member of the drug-trafficking conspiracy,
called RABB on the Device and asked RABB, “yo, bro, can you snatch the sneaker for me
Bom, um, the side, and put it in the back?” RABB responded, “lt’s in the storage room. I’m
not responsible for no sneaker and putting it in the back . . . back where . . . behind where?”
HOGUE specified, “behind the counter, Brody,” to which RABB agreed I am aware that
“sneaker” is a commonly used code word for a firearm, and believe that HOGUE asked
RABB to hide a Hrearm behind the counter of the Store in this call. Based on the content of

- this call, members of the investigative team alerted the NYPD to the possibility that a firearm
was in the Store. Mernbers of` the NYPD then began conducting surveillance of the Store.
RABB was alerted to their presence by HOGUE who called RABB on the Device (session
#25 89) to say, “Yo, watch that Impala i.e. suspected police vehicle], you heard? Shit keep

creeping. It drove by just now.”

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ll. Ten days before his arrest, on April 7, 2018, RABB used the Device to have
the following exchange with an unidentified person who used telephone number (347) 340-
3365:

3365 User: I don’t want to be in a back pause (13000)

RABB: U NO HOW TO_COOK IT (13002)

3365 User: My niggas do .. I can’t lie 1 ain’t no raekwan (13004)

3365 User: I will sell it like that what’s the diHerence (13006)
1 am aware that the process by which powder cocaine is converted to crack cocaine is known
as “cooking” it and believe that in this exchange, RABB was inquiring about whether the

3365 User could “coo ” the powder cocaine that RABB had in his possession into crack

cocaine (“U NO HOW TO COOK IT”).

12. The calls and text messages detailed herein are a small sampling of the drug-
and gang-related communications intercepted over the Device during the authorized
interception period. The Device is currently in the lawful possession of the FBI and has been
since it was seized incident to the arrest of RABB. Therefore, while the FBI might already
have all necessary authority to examine the Device, l seek this additional warrant out of an
abundance of caution to be certain that an examination of the Device will comply with the

Fourth Amendment and other applicable laws.

13. The Device is currently in the Eastern District of New York in the custody of
the undersigned, but it is generally maintained in storage at the FBI’s New York Field Office
under item number lB?>S and barcode E6280286. ln my training and experience, 1. know that

the Device has been stored in a manner in which its contents are, to the extent material to this

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investigation, in substantially the same state as they were when the Device first came into the

possession of the FBl.
TECHNICAL TERMS

14. Based on my training and experience, l use the following technical terms to

convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data
communication through radio signals These telephones send signals through
networks of transmitter/receivers, enabling communication with other wireless
telephones or traditional ‘_‘land line” telephones A wireless telephone usually
contains a “call log,” which records the telephone number, date, and time of
calls made to and from the phone. In addition to enabling voice
communications, wireless telephones offer a broad range of capabilities
These capabilities include: storing names and phone numbers in electronic
“address books;” sending, receiving, and storing text messages and e-mail;-
taking, sending, receiving, and storing still photographs and moving video;
storing and playing back audio files; storing dates, appointments, and other
information on personal calendars; and accessing and downloading
information from the lnternet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the

device.

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b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images_
lmages can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader. Removable
storage media include various types of flash memory cards or miniature hard
drives. Most digital cameras also include a screen for viewing the stored
images. This storage media can contain any digital data, including data

unrelated to photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio,
video, or photographic iiles. However, a portable media player can also store
other digital data. Some portable media players can use removable storage
media Removable storage media include various types of flash memory cards
or miniature hard drives. This removable storage media can also store any
digital data. Depending on the model, a portable media player may have the
ability to store very large amounts of electronic data and may offer additional

features such as a calendar, contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to display
its current location. lt often contains records the locations where it has been_

§ ome .G.P S navigation ...de.y..ice.s... c.an._giue. ..a.= user .driving=.._or...walking. directions 10

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another location These devices can contain records of the addresses or
locations involved in such navigation The Global Positioning System
(generally abbreviated “GPS”) consists of 24 NAVSTAR satellites orbiting the
Earth. Each satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the current
time, combined with a special sequence of numbers These signals are sent by
radio, using specifications that are publicly available A GPS antenna on Earth
can receive those signals When a GPS antenna receives signals from at least
four satellites, a computer connected to that antenna can mathematically
calculate the antenna’s latitude, longitude, and sometimes altitude with a high

level of precision

e- PDA: A personal digital assistant, or PDA, is a handheld electronic device
used for storing data (such as names, addresses, appointments or notes) and
utilizing computer programs Some PDAs also function as wireless
communication devices and are used to access the lnternet and send and
receive e-mail. PDAs usually include a memory card or other removable
storage media for storing data and a keyboard and/or touch screen for entering
data. Removable storage media include various types of flash memory cards
or miniature hard drives. This removable storage media can store any digital
data. Most PDAs run computer soii:ware, giving them many of the same
capabilities as personal computers For example, PDA users can work with

word-processing documents, spreadsheets, and presentations PDAS may also
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include global positioning system (“GPS”) technology for determining the

location of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet
smaller than a notebook, that is primarily operated by touching the screen
Tablets function as wireless communication devices and can be used to access
the lnternet through cellular networks 802.11 “wi-li” networksj or otherwise
Tablets typically contain programs called apps, which, like programs on a
personal computer, perform different functions and save data associated with
those functions A`pps can, for example, permit accessing the Web, sending

and receiving e-mail, and participating in lnternet social networks

g. Pager: A pager is a handheld wireless electronic device used to contact an
individual through an alert, or a numeric or text message sent over a
telecommunications network Some pagers enable the user to send, as well as

receive, text messages

h. lP Address: An Intemet Protocol address (or simply “IP address”) is a unique
numeric address used by computers on the lntemet. An IP address is a series
of four numbers each in the range 0-255, separated by periods (e.g.,
121 .56.97. 178). Every computer attached to the- lnternet computer must be
assigned an IP address so that lntemet traffic sent from and directed to that
computer may be directed properly from its source to its destination Most

Internet sefvice"pfoviders control a range iif "IP addresses m "So"r'ne:' computers o

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have static_that is, long-term“»-IP addresses while other computers have

dynamic-that is, frequently changedeP addresses

i. Internet: The lnternet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lnternet,
connections between devices on the Internet often cross state and international
borders,- even when the devices communicating with each other are in the

same state.

15 . Based on my training, experience, and research, and from consulting the
manufacturer’s advertisements and product technical specifications available online, I know
that the Device has capabilities that allow it to serve as a wireless telephone, digital camera,
portable media player and GPS navigation device. In my training and experience, examining
data stored on devices of this type can uncover, among other things, evidence that reveals or

suggests who possessed or used the device.
ELECTRONIC STORAGE AN]) FORENSIC ANALYSIS

16. Based on my knowledge, training, and experience, l know that electronic
devices can store information for long periods of time. Similarly, things that have been
viewed via the lntemet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools

17. Forensic evidence As further described in Attachment B, this application

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direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how the Device was used, the purpose of its use, who used it, and when. There is
probable cause to believe that this forensic electronic evidence might be on the Device

because:

a. Data on the storage medium can provide evidence of a tile that was once on
the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word

processing tile).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia

of occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to
draw conclusions about how electronic devices were used, the purpose of their

use, who used them, and when.

d. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a
dynamic process Electronic evidence is not always data that can be merely
reviewed by a review team and passed along to investigators Whether data
stored on a computer is evidence may depend on other information stored on

the computer and the application of knowledge about how a computer
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behaves. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant

e. Fmther, in finding evidence of howa device was used, the purpose of its use,
who used it, and when, sometimes it is necessary to establish that a particular

thing is not present on a storage medium

18. Narure ofexamination'. Based on the foregoing, and consistent with Rule
4l(e)(2)(B), the warrant l am applying for would permit the examination of the device
consistent with the warrant The examination may require authorities to employ techniques,
including but not limited to computer~assi-sted scans of the entire medium, that might expose
many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant

19. Manner ofexecution. Because this warrant seeks only permission to examine
a device already in law enforcement’s possession, the execution of this warrant does not
involve the physical intrusion onto a premises Conse quently, l submit there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night
CONCLUSION

2(). l submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Device described in Attachrnent A to seek the items

described in Attachment B-

Respectfully submitted5

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HM

Steven Schiliro
Special Agent
Federal Bureau of lnvestigation

   
 

   
 

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ATTACHMENT A

The property to be searched is a Samsung cellular telephone bearing international
mobile equipment identity (“Il\/]El”)' 352557073083464, hereinafter the “Device.” The
Device has been in the custody of the FBI since it was seized on April l7, 2018. The Device
is currently in the Bastem District of New York in the custody of the undersigned, but it is
generally maintained in storage at the FBI’s New York Field Oftice under item number lB38
and barcode E6280286.

This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

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ATTACHMENT B

l. All records on the Device described in Attachment A that relate to

violations of including racketeering and racketeering conspiracy, in violation of 18 U.S.C.

§§ 1962(c) and (d), and punishable under 18 U.S.C. § 1963, drug trafficking, in violation of

21 U.S.C. §§ 841, 843, and 846, and flrearrns~related offenses, in violation of 18 U.S.C. §§

922 and 924 and involve MARIO RABB, also known as “Boss,” since lanuary 2017,

including:

. lists of customers and related identifying information;

. types, amounts, and prices of drugs trafficked as well as dates, places, and

amounts of specific transactions;

. any information related to sources of drugs (including names, addresses, phone

numbers_, or any other identifying information);

. any information related to individuals who work with or for RABB to

distribute drugs (including names, addresses, phone numberJ or any other

identifying information);

. all bank records, checks, credit card bills, account information, and other

financial records;

evidence of the use, possession and/or sale of firearms;

. any information demonstrating RABB"s membership in the Bloods street

gang, and the l\/lac Baller Brims; and

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h. any information related to other individuals who are members in the Bloods
street gang, and the Mac Baller Brims (including names, addresses, phone

number, or any other identifying information);

2. Evidence of user attribution showing who used or owned the Device at the
time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history;

